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                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION

WILLIAM A. LEMONS, JR.,               )
M.D.,                                 )
      Plaintiff,                      )
                                      )
v.                                    )       Case No. 2:18-CV-01040-CLM
                                      )
PRINCIPAL LIFE INSURANCE              )
COMPANY,                              )
    Defendant.                        )

                                     ORDER

      Defendant Principal Life Insurance Company has moved to exclude from trial

the expert testimony of Laura B. Parker and Elliott S. Flood. See Docs. 153, 154.

Plaintiff William Lemons has moved to exclude the expert testimony of Lynn

Etheridge Hare and Debra Conner. See Docs. 157, 158. For the reasons explained

within, the court GRANTS IN PART and DENIES IN PART Principal’s motion

to exclude Parker’s testimony (doc. 153), Principal’s motion to exclude Flood’s

testimony (doc. 154), and Lemons’ motion to exclude Conner’s testimony (doc.

158). The court GRANTS Lemons’ motion to exclude Hare’s testimony (doc. 157).

                                   ANALYSIS

      When considering the admissibility of expert testimony, this court must act as

a “gatekeeper[ ] to ensure that speculative, unreliable expert testimony does not

reach the jury.” See Kilpatrick v. Breg, Inc., 613 F.3d 1329, 1335 (11th Cir. 2010).


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But this court must also keep in mind that “[v]igorous cross-examination,

presentation of contrary evidence, and careful instruction on the burden of proof are

the traditional and appropriate means of attacking shaky but admissible evidence.”

Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 596 (1993). Three factors guide

the court’s expert admissibility inquiry:

      (1)    the expert must be qualified to testify competently regarding the matters
             he intends to address;

      (2)    the methodology by which the expert reaches his conclusions must be
             sufficiently reliable as determined by the sort of inquiry mandated in
             Daubert; and

      (3)    the testimony must assist the trier of fact, through the application of
             scientific, technical, or specialized expertise, to understand the
             evidence or to determine a fact in issue.

See Moore v. Intuitive Surgical, Inc., 995 F.3d 839, 850–51 (11th Cir. 2021). The

proponent of expert testimony bears the burden of establishing these factors. See

United States v. Frazier, 387 F.3d 1244, 1260 (11th Cir. 2004) (en banc). Because

Principal offers Hare and Conner as rebuttal experts to Parker and Flood, the court

starts with Principal’s motions to exclude Parker and Flood’s testimony. The court

then addresses Lemons’ motions to exclude the testimony of Conner and Hare.

      A. Laura Parker: According to Parker’s expert report, she has over 25 years

of experience in the disability insurance industry. From 1994 to 2000, Parker worked

for UNUM in its individual disability claims department. Parker then worked as

association disability claims manager for DRMS, a role that required her to help

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implement claims processes and procedures and managing the short term disability

claims team. From 2012 to 2015, Parker worked as an appeals consultant for Salt

Associates. In that job, Parker provided client companies with industry best practices

and appeals expertise for short term disability, long term disability, waiver of

premium, life insurance, and critical illness claims. In her current job, Parker mainly

provides expert testimony and outsourced claims handling and claims consultation

services.

      At trial, Parker plans to testify that Principal’s handling of Lemons’ claim for

benefits under his policy’s regular occupation rider (“ROR”) did not comply with

industry standards, including those from the National Association of Insurance

Commissioners (“NAIC”). According to Principal, the court should exclude Parker’s

testimony because: (1) she is not qualified; (2) her testimony is not helpful; and (3)

the admission of her testimony would violate Fed. R. Evid. 403.

      1. Qualifications: Principal asserts that Parker lacks the qualifications to

testify on the opinions expressed in her expert report because she has only

generalized experience in the insurance industry and is not a vocational expert.

Principal also says that Parker isn’t qualified because Alabama law doesn’t guide

her opinions. But the court finds that this last argument goes towards the reliability

of Parker’s testimony, not her qualifications.




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      “A witness is qualified as an expert if he is the type of person who should be

testifying on the matter at hand.” Moore, 995 F.3d at 852 (emphasis omitted).

Parker’s years of experience in the disability insurance industry, which includes

being involved in various aspects of the claims handling process, establish that

Parker is the type of person who should testify on proper disability claims handling

procedures.

      And though Principal asserts that Parker has not worked on a regular

occupation rider claim since 2000, this does not disqualify Parker from providing an

opinion on how Principal evaluated Lemons’ claim. Principal does not explain why

general claims handling practices are different for claims for regular occupation rider

benefits than other claims for disability insurance benefits. And nothing in the record

suggests that there are significant differences in the claims handling procedures

Parker is familiar with and the claims handling procedures that apply to claims for

regular occupation rider benefits. So Principal defines the relevant field for experts

on claims handling too narrowly. See id. at 855–56 (district court erred in finding

expert with years of experience performing hysterectomies unqualified to testify

about a robotically assisted hysterectomy because he had never performed one).

      The court also rejects Principal’s argument that because Parker is not a

vocational expert she cannot testify about how Principal evaluated Lemons’ vocation

when denying his claim under the regular occupation rider. As Lemons notes,


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Parker’s testimony is not being offered to discredit a vocational expert’s opinion or

to establish what Lemons’ primary vocation was. Instead, Parker plans to testify that

Principal’s evaluation of Lemons’ claim was unreasonable because it “did absolutely

no vocational analysis whatsoever.” Doc. 153-2 at 27. Parker’s claims handling

experience qualifies her to express this opinion.

      2. Reliability: Turning to reliability, when the expert “is relying solely or

primarily on experience, then the witness must explain how that experience leads to

the conclusion reached, why that experience is a sufficient basis for the opinion, and

how that experience is reliably applied to the facts.” Frazier, 387 F3d at 1261. The

court finds that Parker’s experience makes her reliable (for admissibility purposes).

As Parker’s report explains, she has years of experience in claims handling, which

has caused her to become familiar with the standards that typically govern the claims

handling process. And Parker has used her knowledge of these standards and

experience to conclude that Principal did not adequately investigate Lemons’ regular

occupation rider claims. So Parker’s opinions meet Daubert’s reliability

requirement.

      The court also rejects Principal’s argument that Parker’s unfamiliarity with

Alabama law makes her opinions on claims handling practices unreliable. Lemons

is not offering Parker as an expert on Alabama law. Nor would it be appropriate for

Parker to testify about the legal implications of Principal’s conduct under Alabama


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law. See Montgomery v. Aetna Cas. & Sur. Co., 898 F.2d 1537, 1541 (11th Cir.

1990). Instead, the court will instruct the jury on the Alabama law on bad-faith. And

the jury will then apply the law to the evidence, including expert testimony, to make

its decision. Because Parker’s experience and knowledge of industry standards

shows that her opinions on claims handling practices are reliable, the jury may use

her testimony when considering whether Principal adequately investigated Lemons’

claim.

         3. Helpfulness: The third factor requires the court to consider whether

Parker’s testimony will assist the jury. Under this admissibility factor, “an expert[s]

testimony is admissible if it concerns matters that are beyond the understanding of

the average lay person.” Frazier, 387 F.3d at 1262.

         According to Principal, Parker’s testimony isn’t helpful because whether

Principal complied with industry standards isn’t relevant to Lemons’ bad-faith

claim. Instead, Principal says that what counts is whether it had a debatable reason

to deny Lemons’ claim. See Ala. Pattern Jury Instr. 20.37, element (4). But the

debatable reason element is just one element of Lemons’ bad-faith claim. Another

element is whether Principal “had actual knowledge that there was no reasonably

legitimate, arguable, or debatable reason, or intentionally or recklessly failed to

determine whether there was a legitimate or arguable reason to refuse to pay the

claim.” Ala. Pattern Jury Instr. 20.37, element (5). And Parker’s opinion that


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Principal didn’t fully or fairly evaluate Lemons’ job duties when he became disabled

tends to show that Principal either intentionally or recklessly failed to determine if

it had a reason to deny Lemons’ claim. So Parker’s proposed testimony is relevant

to Lemons’ bad-faith claim.

      Principal also points out that several appellate courts, including the Eleventh

Circuit, have upheld excluding expert testimony on insurance industry standards

because the jury could decide the bad-faith issue without hearing from an expert.

See, e.g., Tardiff v. Geico Indem. Co., 481 F. App’x 584, 587 (11th Cir. 2012). But

in affirming the exclusion of expert testimony, those courts applied a very deferential

abuse of discretion standard that allows for a range of choice by the district court.

See id. at 586–87. And as Lemons notes, the Supreme Court of Alabama has looked

to expert testimony that the defendant insurer improperly read an ambiguous term

and conducted an improper investigation to hold that the trial court properly

submitted a bad faith claim to the jury. See State Fire Farm Fire & Cas. Co. v. Slade,

747 So. 2d 293, 315-16 (Ala. 1999). Here, the court finds it appropriate to allow

Parker to give her opinion that Principal’s investigation into Lemons’ claim was

deficient because what counts as appropriate claims handling procedures is not

known to most lay people.

      4. Rule 403: Principal finally argues that Parker’s proposed testimony would

violate Rule 403 because there is a danger that unfair prejudice will substantially


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outweigh the testimony’s probative value. According to Principal, Parker’s

testimony is unduly prejudicial because the NAIC standards are irrelevant, Parker

intertwines her opinions with improper legal conclusions, Parker merely plans to

summarize the documents in the claims file, and Parker impermissibly testifies about

the intent of Principal and Lemons.

      NAIC Standards: Though Parker’s knowledge of the NAIC’s standards along

with her experience help establish her qualifications and the reliability of her

testimony, the court agrees that allowing Parker to reference the NAIC model act or

to testify that Principal violated these standards would be unduly prejudicial. The

NAIC’s model act states that violations of the act do not create or imply private

rights of action. And Alabama’s claims handling regulations, which take some

standards from the model act, provide that “evidence of a violation . . . shall not be

utilized for any other purpose or admissible as evidence in any civil or criminal

proceeding.” Ala. Admin. Code § 482-1-124-.02.

      The court thus agrees with Principal that allowing Parker to testify about the

NAIC’s model act risks confusing the jurors and may cause them to improperly find

that mere violations of the act equate to bad faith. So the court will let Parker explain

her understanding of the insurance industry’s standards and appropriate claims

handling procedures, which may be informed by her knowledge of the NAIC’s

standards. But the court will not allow Parker to explicitly refer to the NAIC’s rules


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or to opine that Principal violated the model act’s requirements. At least one other

court has similarly limited testimony about the NAIC’s regulations, see Arrowood

Indem. Co. v. The Lubrizol Corp., 2016 WL 6634747, at *5 (N.D. Ohio Feb. 22,

2016), and the court finds it appropriate to do so here.

       Legal conclusions: The court will also prohibit Parker from making legal

conclusions, which are inappropriate for an expert to provide. So, for example,

Parker cannot testify about how she believes Principal should have interpreted the

regular occupation rider. But the court won’t prevent Parker from testifying just

because she gives her opinions in her expert report between her summary of the

evidence she reviewed. Lemons has assured the court that Parker doesn’t plan to

read her report to the jury and summarize all evidence she reviewed. And if Principal

thinks Parker’s testimony is cumulative of other evidence, it may make that

objection at trial.

       Intent: Finally, the court agrees that it would be inappropriate for Parker to

testify about either Principal or Lemons’ intent. So Parker cannot say that Principal

never intended to pay Lemons’ benefits or had no intention of objectively evaluating

Lemons’ claim. Nor can she testify that Lemons bought the Principal policy with the

intent that it would insure his job as an OB/GYN.




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      The court thus GRANTS IN PART and DENIES IN PART Principal’s

motion to exclude Parker’s testimony (doc. 153). The court will allow Parker to

testify but limits Parker’s testimony as discussed above, particularly:

      • Parker cannot testify about what the NAIC model act requires, nor
        can she opine that Principal violated the NAIC model act;

      • Parker cannot opine about her interpretation of the regular
        occupation rider;

      • Parker cannot opine on Principal’s intent to pay or intent to
        objectively evaluate Lemons’ ROR claim.

The court also notes that its motion in limine rulings (doc. 191) apply to Parker’s

testimony and that Principal can object at trial to testimony from Parker that it

considers inappropriate.

      B. Elliott Flood: Flood is a retired insurance company executive and

accountant who now serves as an independent consultant. In his last position in the

insurance industry, Flood served as Senior Vice President and General Auditor for

an insurer that provided disability benefits through worker’s compensation.

According to Principal, the court should exclude Flood’s testimony because he isn’t

qualified, his opinions aren’t reliable, and his testimony won’t assist the trier of fact.

      1. Qualifications: Like with Parker, Principal argues that Flood isn’t qualified

because he: (a) is not an expert on Alabama law, and (b) lacks experience handling

individual disability insurance claims like the Principal policy at issue. As explained

above, Lemons is not offering his experts as experts on Alabama law. Instead, he is
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offering them as experts on the insurance industry’s standard procedures. So that

Flood doesn’t hold himself out as an expert on Alabama’s bad-faith requirements

isn’t a reason to prevent him from testifying.

      And again, Principal too narrowly defines the relevant field of expertise

required to render an opinion on Principal’s handling of Lemons’ claim for regular

occupation rider benefits. Principal concedes that “Flood’s past work experience

may qualify him as a general insurance expert ‘in the abstract’” but asserts that his

lack of experience with individual disability insurance claims means that he “lacks

expertise regarding the specific issues in this case.” Doc. 154 at 4. Principal does

not, however, explain why standard claims handling procedures for individual

disability insurance claims differ from the procedures used for handling workers’

compensation claims or other claims for insurance benefits. The court finds that

Flood’s experience in examining his “company’s compliance with company

policies, insurance industry standards, and regulations” makes him qualified to

testify about the adequacy of Principal’s investigation into Lemons’ claim for

regular occupation rider benefits. See id. at 5.

      2. Reliability: Principal asserts that Flood’s testimony is unreliable because

he relied on Parker’s report to reach his conclusions, gets the facts wrong, and

speculates that the way Principal handled Lemons’ claim was “standard practice.”




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      An expert may rely on another expert’s report “[i]f experts in the particular

field would reasonably rely on” the report “in forming an opinion on the subject.”

See Fed. R. Evid. 703. “An expert, however, may not simply repeat or adopt the

findings of another expert without attempting to assess the validity of the opinions

relied upon.” In re Polypropylene Carpet Antitrust Litig., 93 F. Supp. 2d 1348, 1357

(N.D. Ga. 2000). Flood states that he has “independently determined that the Parker

report is based on sound methodology and accurately sourced to Company

documents, identifies serious defects in internal controls over Company compliance

with disability policy terms and fair claim handling practices.” Doc. 66-52 at 8.

According to Flood, he reached this conclusion by conducting a detailed review of

Parker’s report and the supporting documents she cited, the documents that he

“would normally review in assessing the reliability and quality of an internal

auditor’s work.” Id. at 7. The court is thus satisfied that Flood reasonably

investigated Parker’s findings, which are detailed in a report that the court has

already determined meets Daubert’s reliability requirement.

      And Principal’s argument that Flood “gets the facts completely wrong” goes

to the weight, not admissibility of his testimony. In support of this argument,

Principal asserts that Flood’s report incorrectly assumes that Doug Hanselman

denied Lemons’ request for regular occupation rider benefits and that undue targets

or financial pressures may have been placed on Principal’s claims department.


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Though Hanselman denies rendering a regular occupation rider benefits

determination, Lemons may introduce documentary evidence that suggests that

Hanselman made the decision. See, e.g., Doc. 80-8 at 2 (January 23, 2017 note signed

by Hanselman: “While she was gone, I made the decision.”). So this is a fact question

for the jury. And though Principal asserts that a wealth of evidence contradicts

Flood’s view that undue financial pressure may have affected Principal’s claims

department, this too goes to Flood’s credibility. It does not go to the admissibility of

his testimony.

      Principal finally contends that Flood’s testimony is unreliable because Flood

states that Principal likely applied the allegedly defective standards and procedures

that he and Parker identified in the handling of Lemons’ claims to other regular

occupation rider claims. The court finds it appropriate for Flood to testify that based

on his auditing experience, review of the evidence, and consideration of Parker’s

report he believes it is standard procedure for Principal to evaluate claims the way it

evaluated Lemons’ claim for regular occupation rider benefits. But Flood cannot

testify that Principal has inadequately investigated other insureds’ claims or

underpaid them because Flood has no evidence of this. And on cross-examination

Principal may point out that Flood has only reviewed Principal’s handling of

Lemons’ claim to undermine his standard practice testimony. Depending on how

Flood testifies, his testimony may also open the door for Principal to later present


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evidence that it hasn’t had other complaints about how it makes its regular

occupation rider benefits determinations. The court, however, does not find this

planned testimony to render Flood’s opinion unreliable.

      3. Helpfulness: Principal next argues that Flood’s testimony does not help the

jury because: (1) he plans to testify about how Principal should have interpreted the

regular occupation rider; (2) he seeks to testify that Principal likely misstated the

reserve for Lemons’ claim; (3) he will testify about Principal’s advertising of the

regular occupation rider to Lemons; and (4) he alludes to systemic violations of fair

claims handling by insurance companies in the past, specifically the Unum

Multistate Market Conduct Examination.

      As discussed above, the court gets to interpret the law, not experts. So the

court will prohibit Flood from testifying that Principal erroneously interpreted the

regular occupation rider or that Principal should have interpreted the regular

occupation rider to cover Lemons’ OB/GYN specialty.

      Next up is Principal’s argument that Flood shouldn’t testify about reserves.

As the special master noted in his first report and recommendation, most courts have

found that information on reserves—i.e., money insurance companies must set aside

upon notice of potential losses under their policies—isn’t relevant to first-party bad-

faith claims. See Doc. 45. And Flood partially bases his reserve opinion on Principal

allegedly applying a wrong cap on Lemons’ benefits, a claim that this court has


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already dismissed. Plus, although Hanselman had access to reserve information,

Flood doesn’t state that he believes Hanselman considered Principal’s reserves when

evaluating Lemons’ claim. Nor does he suggest that Principal’s alleged under-

reserving is the reason it denied Lemons’ regular occupation rider claim. So though

Lemons asserts that Flood’s reserves opinion shows that Principal has recklessly

disregarded its legal obligations, his opinion doesn’t imply that Principal’s reserves

motivated it to deny Lemons’ claim. The court thus finds that Flood’s reserves

opinion isn’t helpful to the trier of fact and will not let him give this opinion at trial.

       The court will also prohibit Flood from testifying about Principal’s alleged

failure to follow reasonable expectations in advertising and from mentioning

systemic violations of fair claims handling like what happened with the Unum

Multistate Market Conduct Examination. Flood’s testimony about how Principal

marketed the regular occupation rider to Lemons again impermissibly touches upon

how to interpret the regular occupation rider’s language. And the court’s motion in

limine ruling (doc. 191 at 22) has already found that evidence related to the sale of

the Principal policy is irrelevant. It is also irrelevant that the insurance industry has

faced scandals involving claims handling. As the court has repeatedly noted, the

insurance industry is not on trial here. Instead, this case is about one plaintiff’s claim

for benefits under a regular occupation rider.




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      The court thus GRANTS IN PART and DENIES IN PART Principal’s

motion to exclude Flood’s testimony (doc. 154). Flood can testify at trial because he

is qualified, his methods are reliable, and much of his testimony will assist the jury.

But the court will limit Flood’s testimony as discussed above, particularly:

      • Flood cannot testify that Principal underpaid or inadequately
        investigated other insureds’ claims;

      • Flood cannot testify that Principal erroneously interpreted Lemons’
        regular occupation rider or that Principal should have interpreted the
        regular occupation rider to cover Lemons’ OB/GYN specialty;

      • Flood cannot testify about reserves;

      • Flood cannot testify about Principal’s alleged failure to follow
        reasonable expectations in advertising; and,

      • Flood cannot testify about the industry’s violations of fair claims
        handling.

Principal also may object to testimony from Flood that it finds improper at trial.

      Though Principal doesn’t raise this point, the court finally notes that if Flood

plans to testify about corrective actions that Principal should take in the future, see

doc. 66-52 at 10–11, that testimony may be irrelevant because it doesn’t relate to

whether Principal properly investigated Lemons’ claim.

      C. Debra Conner: To rebut the testimony of Parker and Flood, Principal

offers the testimony of Debra Conner. Conner has worked in the insurance industry

for the past 40 years as part of claim departments, contracts and compliance


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departments, and as in-house counsel. Since 2018, Conner has provided life and

disability claim/product consulting services. Lemons asserts that the court should

exclude Conner’s testimony because she isn’t qualified, her methods aren’t reliable,

she won’t help the jury, and her testimony is prejudicial.

      1. Qualifications/reliability: Lemons doesn’t dispute that Conner has the

qualifications to provide expert opinions on disability insurance claims handling

practices or procedures. And Conner’s experience in the insurance industry shows

she’s an expert in this field. Lemons instead asserts that Conner isn’t qualified to

provide her opinions concerning the need for physicians to retain CPT codes,

Alabama tax law, and Dr. Lemons’ medical condition. The court agrees that Conner

lacks the qualifications to state what the law mandates for retaining CPT codes or

tax returns. Nor can Conner give an opinion on Lemons’ medical condition. But

Conner’s knowledge of insurance industry standards does allow her to testify about

whether it was reasonable to seek CPT codes and tax returns from Lemons when

evaluating his claim. She can also testify about the affect this information would

have on determining Lemons’ eligibility for regular occupation rider benefits. And

Conner can testify that based on the information Principal had, she believes it was

reasonable for Principal to conclude that Lemons’ disability onset date was July 15,

2016. Lemons’ challenge of the facts that led Conner to this conclusion goes to the

weight and not admissibility of her testimony.


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      Lemons next asserts that Conner doesn’t base her opinions on sufficient facts

or data and that her methods are unreliable. The court disagrees with Lemons’

argument that Conner’s opinions aren’t the product of reliable principles and

methods. Like Lemons’ experts, Conner has reviewed the claims file/relevant

evidence and used her knowledge of insurance industry standards to reach

conclusions about whether Principal complied with industry norms. So the court

finds Conner’s methods reliable. And the court doesn’t find Conner’s opinion that

the NAIC’s model rules aren’t controlling in Alabama to mean that she didn’t

reliably apply her principles and methods to the facts. As stated when discussing

Parker’s planned testimony, the court will not allow the experts to specifically

mention the NAIC’s rules or whether Principal complied with the NAIC’s standards.

And that Conner is aware of the NAIC’s rules, familiar with other industry standards,

and knows how the claims handling process works shows that her conclusions meet

Daubert’s reliability requirement.

      2. Helpfulness/prejudice: Lemons argues that Conner’s testimony will not be

helpful and is unduly prejudicial. According to Lemons, Conner’s report is merely a

rehash of what Principal’s lawyers will argue and she seeks to give opinions on the

correct interpretation of contract terms, credibility, and ultimate factual issues. The

court doesn’t find Conner’s report to be merely a rehash (or pre-hash) of what

Principal’s lawyers will argue during closing. Instead, Conner’s knowledge of


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insurance industry standards and practices may help the jury determine whether

Principal adequately evaluated Lemons’ regular occupation rider claim. And

Lemons’ argument that Conner misstates the facts goes to weight, not admissibility.

      But the court will prohibit Conner from testifying about how to interpret the

regular occupation rider, giving legal opinions, and providing opinions on ultimate

facts in issue, such as whether Principal reached the “correct decision” to deny

Lemons’ disability claim. This includes testifying that other insurance companies

interpreted the regular occupation rider like Principal because courts in Alabama

interpret insurance policies “as a reasonable person in the insured’s position would

have understood them.” See State Farm Mut. Auto Ins. Co. v. Brown, 26 So. 3d 1167,

1169 (Ala. 2009) (emphasis added). And like Parker, the court will prohibit Conner

from testifying about Lemons’ state of mind.

      Other testimony that Lemons objects to, such as Lemons’ failure to invoke his

policy’s 10-day examination offer and Conner’s assessment of Hanselman’s access

to reserves, is no longer relevant because the court has held that Lemons’ experts

cannot testify about how Principal sold the policy to him or the reserves. Whether

Conner’s testimony about insurance materials from California, Iowa, and Alabama

is relevant depends on how Flood couches his opinion on Principal’s standard

procedures. So the court will wait until trial to see if Flood has opened the door to

this testimony. And the court finds it appropriate for Conner to inform the jury that


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Lemons had the burden of proof when requesting reconsideration of Principal’s

denial of his claim. Conner may also opine that, based on the information Lemons

gave Principal, she believes that Principal could reasonably conclude that Lemons’

work at Covenant was that of a business owner, not an OB/GYN—though this

testimony will likely lead the court to immediately instruct the jury that bad-faith

claims turn on only the information an insurer considered as part of its decisional

process.

       Lemons finally argues that Conner’s testimony is prejudicial because it

contains only legal opinions. 1 As stated, the court will prohibit Conner from giving

legal opinions at trial. But not all of Conner’s testimony is a legal opinion. So the

court finds this argument unavailing.

       Nor is the court persuaded that permitting Conner to testify is unduly

prejudicial because the court has prohibited Justice Harwood from rebutting her

testimony. Justice Harwood was only going to testify about how Alabama courts

interpret insurance policies and Alabama’s law on bad-faith. But Connor has more;

the court is allowing Conner to testify whether her claims handling experience and

knowledge led her to conclude that Principal complied with industry standards and


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  Lemons also makes the conclusory statement that “Conner’s testimony is grossly prejudicial
because it is an attempt to make an end-run around the FRE 404 and rules governing hearsay.”
Doc. 158 at 13. But in neither his motion or reply brief does Lemons explain why Conner’s
testimony violates Rule 404 or the rules against hearsay. So the court will not address this
argument. Lemons may make specific hearsay and Rule 404 objections to Conner’s testimony at
trial.
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norms when investigating Lemons’ claims. So while Justice Harwood’s planned

testimony was impermissible, certain portions of Conner’s testimony is not.

      The court thus GRANTS IN PART and DENIES IN PART Lemons’ motion

to exclude Conner’s testimony (doc. 158). Although the court will allow Conner to

testify, it will limit her testimony as discussed above—including but not limited to:

      • Connor cannot give legal opinions, including her interpretation of Lemons’
        regular occupation rider and Principal’s reading of it;

      • Connor cannot testify how other insurance companies would read Lemons’
        regular occupation rider;

      • Connor cannot opine on Lemons’ medical condition or state of mind; and,

      • Connor cannot testify about NAIC rules and standards;

      D. Lynn Hare: The final expert is Lynn Hare, an Alabama-based insurance

defense attorney who Principal offers as a rebuttal expert to Flood. According to

Hare, her “law practice has had an emphasis on the evaluation of insurance practices

and procedures in first party litigation, application of those practices and procedures

in analyzing potential bad faith claims, as well as the defense of insurance companies

in cases involving allegations of bad faith.” Doc. 157-1 at 1. Hare states that she has

“performed extensive research in the areas of insurance practices and procedures,

including proper assessment of an insurance claim by a claims handler.” Id. She also

has (1) served as a consultant for attorneys evaluating claims handling and coverage




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issues; and (2) testified in litigation “on the propriety in which a claim was

adjudicated.” Id.

      Lemons makes several arguments for why the court should exclude Hare’s

testimony. The court agrees that Principal hasn’t established that Hare has the

qualifications to testify, that Hare’s methods are reliable, or that Hare will assist the

trier of fact. So the court won’t address Lemons’ other arguments for why the court

should exclude Hare’s testimony.

      1. Qualifications: As discussed above, “[a] witness is qualified as an expert if

he is the type of person who should be testifying on the matter at hand.” Moore, 995

F.3d at 852 (emphasis omitted). The court finds that Hare’s general experience as an

insurance defense attorney and knowledge on the Alabama law of bad-faith doesn’t

make her the type of person who should testify about Principal’s compliance with

insurance industry standards. Unlike Parker, Flood, and Conner, Hare doesn’t have

experience handling disability insurance claims for an insurance company. And

Principal doesn’t dispute that Hare has never worked on or defended a disability

insurance claim. Instead, Principal asserts that Hare has disability insurance

experience because parties have hired her as an expert in disability insurance cases,

including two cases within this district. But it doesn’t appear that any court—or at

least any judge in this district—has ruled that Hare is qualified as an expert who can

testify at trial. She has merely been deposed. Doc. 157-1 at 14.


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      Nor does Hare’s report explain what industry standards or practices she is

familiar with. Contrast this with (a) Parker and Conner’s reports, which reflect

familiarity with the NAIC’s guidelines, and (b) Flood’s report, which lists examples

of insurance industry literature he reads and describes how he keeps current with

insurance industry requirements. Based on the facts that (a) Hare’s experience

mainly comes from general insurance defense work and (b) she hasn’t explained

what industry standards or practices she’s familiar with, the court finds that Hare

lacks qualifications to testify about whether Principal has complied with insurance

industry standards.

      2. Reliability/Helpfulness: Even if Hare meets the qualification requirements,

the court finds that her proposed testimony is neither reliable nor helpful. As already

discussed, when an expert “is relying solely or primarily on experience, then the

witness must explain how that experience leads to the conclusion reached, why that

experience is a sufficient basis for the opinion, and how that experience is reliably

applied to the facts.” Frazier, 387 F3d at 1261. While the court can tell how the other

experts’ experience could lead to the conclusions they reached, the court cannot say

the same thing about Hare. Hare’s report says that through her “work experience,

education, training, and other activities” she has “become knowledgeable about

insurance industry standards and practices, particularly in the State of Alabama,

including those related to the issues involved in this case.” Doc. 157-1 at 1. But


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Hare’s report does not explain what insurance industry standards she is familiar with.

Nor does she point to the sources that inform her knowledge of insurance industry

norms. So the court finds that Hare hasn’t established that her opinions on insurance

industry standards are reliable.

      Independent of its reliability determination, the court also finds that Hare’s

testimony is unlikely to assist the trier of fact. Proffered expert testimony generally

fails this requirement “when it offers nothing more than what lawyers for the parties

can argue in closing arguments.” Frazier, 387 F.3d at 1262–63. And here, Hare’s

report mainly asserts that Flood didn’t adequately point to standards that support his

conclusions and that the evidence doesn’t support Flood or Parker’s conclusions. For

example, Hare alleges:

          • As much as Flood bases his opinions on his accounting designation,
            they are useless in this case;

          • Parker’s conclusions are mere assumptions so the evidence does not
            support the opinions of Flood;

          • No evidence supports Parker’s interpretation of the policy language;

          • Flood’s opinion about claim underpayments is void of any support and
            he cites no industry standard to support his opinion;

          • Flood’s opinions stem from assumptions for which he provides no
            factual or evidentiary basis;

          • Flood’s comments about the compliance department are
            unsubstantiated and Flood does not provide any evidence that the


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             compliance department or chief compliance officer at Principal should
             have had any involvement in interpreting policy terms.

The court recognizes that Hare is a rebuttal witness. But her testimony that the

evidence doesn’t support Flood’s opinions isn’t helpful to the jury because, again,

she doesn’t explain what industry standards she knows and applies.

      Plus, Principal’s attorneys can make the same points, based on the same facts,

when they cross-examine Flood and present closing arguments. The court won’t

allow Principal to put a defense lawyer on the stand to make the defendant’s case—

just as the court wouldn’t allow Lemons to call a judge to opine on the law (i.e.,

Justice Harwood). The court finds Hare’s testimony unhelpful and will GRANT

Lemons’ motion to exclude her testimony (doc. 157).

                                             ***

      Though it does not affect the court’s ruling, the court notes that excluding

Hare’s testimony is unlikely to prejudice Principal. First, the court’s ruling limits the

expert testimony that Flood can provide. So there is no longer a need to rebut Flood’s

interpretation of the regular occupation rider, Flood’s testimony about reserves,

Flood’s mention of the UNUM Multistate Market Conduct Examination, or Flood’s

testimony about advertising materials. And the court’s ruling makes clear that Flood

cannot testify that Principal underpaid the claims of other insureds or inappropriately

denied them regular occupation rider benefits. The court will wait to hear his

testimony before deciding whether Flood has opened the door to evidence of the

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complaints against Principal in Alabama and the Iowa and California market conduct

examinations. This evidence then could come in through Conner, who has also

reviewed this material.

      Second, Principal may use Conner to rebut Parker and Flood’s testimony. And

finally, consistent with the limitations placed on Conner, Parker, and Flood’s

testimony, if the court had permitted Hare to testify, it wouldn’t have allowed her to

testify about how to interpret the regular occupation rider. The exclusion of Hare’s

testimony is thus unlikely to affect the outcome of this case.



                                  CONCLUSION

      In summary, the court GRANTS IN PART and DENIES IN PART

Principal’s motion to exclude Parker’s testimony (doc. 153), Principal’s motion to

exclude Flood’s testimony (doc. 154), and Lemons’ motion to exclude Conner’s

testimony (doc. 158). The court GRANTS Lemons’ motion to exclude Hare’s

testimony (doc. 157).

      DONE and ORDERED on August 9, 2021.


                                     _________________________________
                                     COREY L. MAZE
                                     UNITED STATES DISTRICT JUDGE




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